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              EXHIBIT 3
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


~U re                                                  Chapter 11
                                                       Case No. 01-01139 ~
W.R. Grace & Co., et al.                               (Jointly Administered)

                  Debtors.


                             DECLARATION OF MICHAEL J. POWERS
                                 PURSUANT TO 28 U.S.C. § 1746

         I, Michael J. Powers, do hereby declare as follows:

         1.       I am Assistant Vice President- Direct Claims at Resolute Management, Inc. -

New England Division ("Resolute-NE’’), with offices at Two Central Square, Cambridge,

Massachusetts 02139-3111.

         2.       Resolute-NE has been designated by Seaton Insurance Company, as sanceasor in

interest to Unigard Mutual Insurance Company and Unigard Security Insurance Company

("Seaton"), as its Claims Administrator with respect to certain claims and coverage issues related

to certain policies of insurance issued by Seaton to W.R. Grace & Company, et al. I am the

Resolute-N-E employee charged with handling this account, and in that capacity I have

knowledge regarding the documents attached and described below.

         3.       I make this declaration in support of the Final Obj ecfions of OneBeaeon America

Insurance Company and Seaton Insurance Company to Confirmation of Amended Joint Plan of

Reorganization (the "Plan Objections"), as well as to put certain information and documents

before the Court that are pertinent to the Plan Objections.

         4.       Attached hereto as Exhibit A is a true and correct copy of Seaton Policy No.

1-2517, issued to W.R; Grace & Company, et aL, by Unigard Mutual Insurance Company for the




PHLIT/1132536.3
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period 6130/74 to 6/30/75, as obtained from records maintained by Seaton in the regular course

of business.



       I, Michael J. Powers, do hereby declare under penalty of perjury that the foregoing is tree

and correct. Executed on May [$_~ 2009 at Cambridge, Massachusetts.




                                                    Michael J. Powers
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             EXHIBIT A
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         Case 01-01139-AMC    Doc 21763-4     Filed 05/20/09      Page 8 of 25




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                  GRACE PETROLEUM CORPORATION - LIBYA

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                  PM & G. ASSOCIAT~S, INC., AND HAPdqY
                  HENNER & SONS, INC.’

                  INSURANCE BROKEP~ ERROR &.OMISSIONS                 $ 250,000 INDEMNITY

                  EXCESS INSURANCE BROKERS ERRORS &
                  OMMISSIONE                                          $5,000,000




                                                      ALL~N, MILI~’R AND ASSOCIATES, INC.
                                                      Underwriting Managers

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Case 01-01139-AMC          Doc 21763-4       Filed 05/20/09          Page 9 of 25



                       ¯SC~DULE" OF UNDERLYING "INSURANCE -      ITEM 3




                                                              P.D.   $1,000,0Q0 EACH OCCUP~R

                                                                     $   250,000 EACH CLAIM
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       AIRCRAFT LIaBIlITY                                            $10,000,000 CSL INCLUDI
       (EXCLUDING NON-OWNERSHIP)




           (A)    BAGGAGE LIABILITY

           (B)"   CARE, 9UST0~Y OH CUN~ROL




           (C), NON-OWNERSHIP HULL LIABILI~"I



           (D)    AIRCRAFT NON-OWnERSHIP LIABILITY                   $i0~000,000 ~S’L EXCLUD.


                                                                      ~GRICULTUI~AL’CH~NIhAL,

                                                                      pER~ON AND $700,000 P;




      CONFIDENTIAL
   SUBJECT TO APRIL 2009                                                                ¯ i.
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 Case 01-01139-AMC              Doc 21763-4     Filed 05/20/09    Page 11 of 25



                 . . _        2~ T~ {i) ANY MANU~ACTUR~ OF AIRCRAFT ENGINES OR COMPGN~NT.
                                  PARTS OF AIRCRaft’9/ O~ AVIATION ACCESSORIES, OR "(i±) ANY
                         ....     AIRCRAFT S~LE~ Ok SERVICE 6~ ~I~PAIR ORGANIZATION~ OR
                                  (iii) ANY SELLER OF AIRCR~F~ SDPPLIES, ACCESSORIES,
                                 .EQUIP~N’I’ OR COMPONENT PARTS OF AIRCRAFT OR. ~iv) ANY
                                  AIP~PORT O~ HANCt~R OPERATOR OK (v} THE R~SPECTI%qE
                                : .E~LOYEES O~ AGENTS OF ANY OF TNE ~FOREMEN~IONED WI~H
                                  RESPECT-TO ANY OCCS;~P~NCE" ARISING OU~ OF ~E" OPERATIONS




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’ Y’~’:t~ SUBJECT TO APRIL 2009 ,~’ ;! ~. ~. ~:                                   :~..’.! SEA-000088
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          PROTECTIVE ORDER
Case 01-01139-AMC   Doc 21763-4   Filed 05/20/09   Page 15 of 25




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      Case 01-01139-AMC   Doc 21763-4     Filed 05/20/09    Page 18 of 25




                     SHOWN [N THE DECLARATIONS, WRI~TES NOTICE "STATING ~.IENo EITHER




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       Case 01-01139-AMC      Doc 21763-4   Filed 05/20/09   Page 20 of 25




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        Case 01-01139-AMC      Doc 21763-4           Filed 05/20/09   Page 22 of 25




’"" "          " W. R~ ;GRACE & CO., ETAL




  .’;" . .’ ZN.CO~SIDE.RkmION OF THE ~RE~IUM .CEA~GED .IT "IS UNDERSTOOD AND "




                            " : ". ’"   "   :’" ALLEN., MILLER AN~ ASSOCiATeS," X
                                                       ¯     Underwriting:Managers   "’"   :
          Case 01-01139-AMC                 Doc 21763-4                     Filed 05/20/09               Page 23 of 25




                      .A) EM’PLOYERS.LIABZLITY INCLUDING ’" ’ $IO6,Q06. EA’.’ SMPLO~/




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